        CASE 0:24-cv-02944-KMM-JFD Doc. 52 Filed 08/16/24 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Civil No. 0:24-cv-02944-KMM-JFD

 United States of America,

                      Plaintiff,

        v.

 1.     Evergreen Recovery Inc.;                           UNITED STATES’ NOTICE
 2.     Evergreen Mental Health Services Inc.;             OF NON-OPPOSITION TO
 3.     Ethos Recovery Clinic Inc.                         COUNSEL’S MOTION TO
 4.     Second Chances Recovery Housing Inc.;                   WITHDRAW
 5.     Second Chances Sober Living, Inc.;
 6.     David Backus;
 7.     Shawn Grygo; and
 8.     Shantel Magadanz,

                      Defendants.


       Plaintiff United States of America hereby notifies the Court that it does not oppose

the Motion to Withdraw as Counsel of Record without Substitution filed by attorney Manda

Sertich on August 13, 2024, ECF No. 48. However, the United States notes that no party

has requested that the Court permit Defendants to access funds in the receivership estate to

pay for counsel in this matter, nor has counsel, Defendant Shawn Grygo or Defendant

David Backus represented to the Court that Defendants do not have other sources of funds

available to them by which counsel could be retained.

       To the extent the Court considers the representations made by Defendants Shawn

Grygo and David Backus in the email to the Court filed at ECF No. 51, the United States

notes that it denies many of the representations Defendants made and can provide a more

detailed response at the Court’s request.
       CASE 0:24-cv-02944-KMM-JFD Doc. 52 Filed 08/16/24 Page 2 of 2




Dated: August 16, 2024                   ANDREW M. LUGER
                                         United States Attorney

                                         s/ Emily M. Peterson

                                         BY: EMILY M. PETERSON
                                         Assistant U.S. Attorney
                                         Attorney ID No. 0395218
                                         600 U.S. Courthouse
                                         300 South Fourth Street
                                         Minneapolis, MN 55415
                                         Emily.Peterson@usdoj.gov
                                         (612) 664-5600

                                         Attorneys for United States of America




                                     2
